           Case 1:23-cv-00108-LMB-JFA Document 563 Filed 04/22/24 Page 1 of 1 PageID# 8188


  tfg CORPORATE CREATIOIMS'
            Registered Agent•Director•Incorporstioi^
Corporate Creations Network Inc.
801 US Highway 1 North Palm Beach, FL 33408

                                                                                              April 15, 2024



              Albert V. Bryan U.S. Courthouse
              401 Courthouse Square
               Alexandria VA 22314




         RETURN OF SERVICE

         RE: United States of America, et al. vs. Google LLC

         Not at this address. Corporate Creations Network, Inc. Is not the California registered agent for "Google LLC"
         and therefore not authorized to receive service on their behalf.

         We are returning the original document to your office. Please update your records accordingly.




        Sincerely,
        Service of Process Team
        process ©corpcreations.com
